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                    IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF KANSAS


UNITED STATES OF AMERICA,                    )
                                             )
                         Plaintiff,          )       CRIMINAL ACTION
                                             )
v.                                           )       No.   12-10085-02
                                             )
AARON GOMEZ,                                 )
                                             )
                         Defendant.          )
                                             )

                              MEMORANDUM AND ORDER
        This case comes before the court on defendant’s motion to revoke
the magistrate’s detention order.                (Doc. 117).      The court held an
evidentiary hearing on May 21, 2012.               Defendant’s motion is granted
and Magistrate Judge Kenneth Gale’s order of detention is modified for
the reasons herein.
                               Procedural History
        On March 27, 2012, pursuant to 21 U.S.C. § 846 and 21 U.S.C. §
843(b), defendant was indicted on one count of conspiracy with intent
to distribute more than 5 kilograms of cocaine, distribution of
cocaine and three counts of using a communication device to commit a
felony. On April 11, 2012, Magistrate Judge Gale held a detention
hearing.     The government moved for detention pursuant to 18 U.S.C. §
3142(e). Magistrate Judge Gale granted the government's motion.                  On
May 10, defendant moved to revoke the magistrate’s detention order.
This court held an evidentiary hearing on May 21. Both the government
and defendant made certain proffers during the hearing.
                                 Legal Standard
        Pursuant to 18 U.S.C. § 3145(b), defendant may seek review of
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a magistrate judge's detention order.             The district court's review of
a magistrate judge's order of detention is de novo.                United States v.
Cisneros, 328 F.3d 610, 616 n. 1 (10th Cir. 2003).                           A de novo
evidentiary hearing, however, is not required. The district court may
either “start from scratch” and take relevant evidence or incorporate
the record of the proceedings conducted by the magistrate judge
including the exhibits admitted.            United States v. Torres, 929 F.2d
291, 292 (7th Cir. 1991).         The Federal Rules of Evidence do not apply
to detention hearings.      See 18 U.S.C. § 3142(f).             The Court may allow
the parties to present information by proffer or it may insist on
direct testimony.       See id.
      Under the Bail Reform Act of 1984, the court must order a
defendant's pretrial release, with or without conditions, unless it
“finds that no condition or combination of conditions will reasonably
assure the appearance of the person as required and the safety of any
other person and the community.”          18 U.S.C. § 3142(e). In making this
determination,    the    court     must    take   into    account      the     available
information concerning
      (1) The nature and circumstances of the offense charged,
      including whether the offense is a crime of violence ...
      or involves a minor victim or a controlled substance,
      firearm, explosive, or destructive device;
      (2) the weight of the evidence against the person;
      (3) the history        and    characteristics        of    the   person,
      including-
          (A) the person's character, physical and mental
      condition, family ties, employment, financial resources,
      length of residence in the community, community ties,
      past conduct, history relating to drug or alcohol abuse,
      criminal history, and record concerning appearance at
      court proceedings; and


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           (B) whether, at the time of the current offense or
       arrest, the person was on probation, on parole, or on
       other release pending trial, sentencing, appeal, or
       completion of sentence for an offense under Federal,
       State, or local law; and
       (4) the nature and seriousness of the danger to any
       person or the community that would be posed by the
       person's release.
18 U.S.C. § 3142(g).
       The Bail Reform Act also provides a rebuttable presumption of
risk of flight or danger to the community when a defendant is charged
with either an offense for which the maximum sentence is life
imprisonment or an offense for which a maximum term of imprisonment
of ten years or more is prescribed by the Controlled Substances Act,
21 U.S.C. § 801, et seq.        See 18 U.S.C. § 3142(e); see also United
States v. Stricklin, 932 F.2d 1353, 1354 (10th Cir. 1991) (“upon a
finding of probable cause that defendant has committed a federal drug
offense carrying a maximum prison term of ten years or more, a
rebuttable presumption arises that no conditions of release will
assure defendant's appearance and the safety of the community”).
       “A grand jury indictment provides the probable cause required
by the statute to trigger the presumption.” United States v. Walters,
89 F. Supp.2d 1217, 1220 (D. Kan. 2000)(citing United States v.
Quartermaine, 913 F.2d 910, 916 (11th Cir. 1990)).                The grand jury
indictment in this case charges defendant with offenses which carry
a maximum term of imprisonment of ten years or more as prescribed by
the   Controlled   Substances    Act,    and    thus   raises     the   rebuttable
presumptions of risk of flight and danger to the community.                Id.
       The   burden   of    production     on   defendant    to    overcome      the
presumption is not a heavy one, but defendant must produce some

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evidence.         Stricklin, 932 F.2d at 1354-55.                Even if defendant
overcomes the presumption, the presumption remains a factor in the
Court's detention decision. Id. The burden of proof remains with the
government to show that no condition or combination of conditions
would reasonably assure the accused's presence in later proceedings
and/or the safety of other persons and the community.                  United States
v. Lutz, 207 F. Supp.2d 1247, 1251 (D. Kan. 2002)(burden of persuasion
regarding risk of flight and danger to community always remains with
government). The government must prove dangerousness to any other
person or the community by clear and convincing evidence.                      Id. at
1252.
                                     Analysis
A. Nature And Circumstances Of The Offense
         During the hearing, the government informed the court that the
conspiracy count has a minimum term of ten years and a maximum term
of life, thereby triggering the rebuttable presumption for detention.
This factor favors detention.
B. Weight Of The Evidence
         During    the   hearing,   the    government     proffered     evidence   of
telephone calls that were recorded pursuant to a federal wiretap
order.    The context of the calls concerned discussion of certain food
items.     The government proffered that federal agents would testify
that the calls were in code and that the food items were references
to narcotics.       The government further proffered that federal agents
would testify that they believe, based on all of the calls they have
reviewed, that defendant supplies cocaine to Juvenal Fernandez, a co-
defendant.        The government also proffered that agents witnessed a

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transaction in which defendant transferred a concealed package,
believed to be cocaine, to another individual.
         This factor therefore favors detention.
C. History And Characteristics Of Defendant
         Defendant is not married but has been living with Brenda Huerta
for five years.      Defendant and Huerta are expecting their first child
together.    Defendant has three children, who all live in Mexico, from
his first marriage.         Most of defendant's family reside in Wichita,
Kansas.     Defendant and Huerta own a home in Wichita, Kansas. If
released, defendant will return to live with Huerta.                 Defendant is a
United States citizen and has not traveled to Mexico and does not have
a passport.
         Prior to his arrest, defendant worked at Douglas Car Wash and
Detail.    Defendant has had a steady employment history.
         Defendant   has    a   criminal   record.1    In    2003,   defendant   was
convicted on an aggravated assault and criminal discharge of a firearm
and served approximately 30 months in prison.               In 2008, defendant was
convicted of driving under the influence and sentenced to probation.
         Defendant's family ties to Kansas, his home ownership and
employment history suggest that he is not a flight risk.
D. Danger To The Community
         Before releasing defendant on any set of conditions, the Court
must be satisfied that defendant will not pose a danger to any other
person or to the community.          See 18 U.S.C. § 3142(b).        The government
has not shown by clear and convincing evidence that defendant would

     1
       Defendant was charged as a juvenile on drug offenses but the
disposition of those offenses is unknown.

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pose a risk of physical danger to the community.                 While defendant has
a criminal history, the criminal charge that occurred after his
release from prison concerns a single traffic offense.                  Defendant has
not committed a felony offense since 2003. Furthermore, defendant has
proffered evidence of significant support from the community.
                                     Conclusion
         Based upon the evidence proffered at the hearing and the record
before the court, the court finds that defendant has met his burden
to rebut the presumption that there are no conditions of release which
will ensure the safety of the community.                 In order to satisfy the
court that defendant will return for further proceedings in this case,
defendant must post a surety bond with the clerk’s office in the
amount    of   $10,000    as   an    additional     condition      of   his    release.
Moreover, defendant must comply with all bond conditions imposed by
the court.
         Defendant’s     motion     is   accordingly     granted.       (Doc.     117).
Magistrate Judge Gale’s order of detention (Doc. 74) is hereby
modified.      It is ordered that defendant be released pending trial on
the conditions set forth above.
     IT IS SO ORDERED.
     Dated this        22nd     day of May 2012, at Wichita, Kansas.


                                              s/ Monti Belot
                                              Monti L. Belot
                                              UNITED STATES DISTRICT JUDGE




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